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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                              UNITED STATES DISTRICT COURT                                January 04, 2024
                               SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                   HOUSTON DIVISION


JANICE JACKSON, et al.,                           §
                                                  §
         Plaintiffs,                              §
                                                  §
VS.                                               §   CIVIL ACTION NO. 4:23-CV-00052
                                                  §
CITY OF HOUSTON,                                  §
                                                  §
         Defendant.                               §

                                              ORDER

        The Defendant, City of Houston’s, Unopposed Motion to Stay these proceedings in their

entirety pending resolution of Defendant’s interlocutory appeal on the issue of governmental

immunity, as well as any authorized permissive appeal (Dkt. No. 32), is well-founded and should

be granted.

        It is, therefore, ORDERED that the present litigation is hereby and in all things stayed until

the resolution of the interlocutory appeal(s) of Defendant City of Houston.

        SIGNED on January 3, 2024, at Houston, Texas.


                                                       _________________________________
                                                       Kenneth M. Hoyt
                                                       United States District Judge




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